      CASE 0:20-cr-00232-JRT-DTS      Doc. 2358   Filed 07/09/24   Page 1 of 2




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                   Case No. 20-cr-231 (JRT/DTS)

       Plaintiff,
                                            ORDER
v.

Daniel Mathias, et al.,

       Defendants.


United States of America,                   Case No. 20-cr-232 (JRT/DTS)

       Plaintiff,
                                            ORDER
v.

Russall Jason Rahm, et al.,

       Defendants.


United States of America,                   Case No. 20-cr-233 (JRT/DTS)

       Plaintiff,
                                            ORDER
v.

Cody Wayne Timmerman, et al.,

       Defendants.


       The Court appointed attorney Russell M. Aoki of Aoki Law, PLLC as

Coordinating Discovery Attorney for court-appointed defense counsel (Dkt.

Nos. 105, 454, 87 respectively). The cases have reached a point where discovery

coordination is no longer required.
     CASE 0:20-cr-00232-JRT-DTS    Doc. 2358   Filed 07/09/24   Page 2 of 2




      IT IS HEREBY ORDERED: The Court removes Russell M. Aoki of Aoki

Law, PLLC as Coordinating Discovery Attorney in the above cases.


Dated: July 9, 2024                       ___s/David T. Schultz______
                                          DAVID T. SCHULTZ
                                          United States Magistrate Judge




                                      2
